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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                            )
                                                          )
 9                           Plaintiff,                   )
                                                          )
10            v.                                          )          2:10-CR-284-RLH (PAL)
                                                          )
11   JIMMY WILSON,                                        )
                                                          )
12                           Defendant.                   )

13                                        ORDER OF FORFEITURE

14            This Court finds that on February 16, 2011, defendant JIMMY WILSON pled guilty to Count

15   One of a Four-Count Criminal Indictment charging him with Conspiracy to Commit Bank Fraud, that

16   is, to execute and attempt a scheme and artifice to defraud a federally insured financial institution, and

17   to obtain money, funds, assets, and property owned by and under the custody and control of a federally

18   insured financial institution, by means of materially false and fraudulent pretenses, representations,

19   and promises, and material omissions in violation of Title 18, United States Code, Sections 1344(1)

20   and (2) and agreed to the forfeiture of property set forth in the Forfeiture Allegations in the Criminal

21   Indictment.

22            This Court finds that JIMMY WILSON shall pay a criminal forfeiture money judgment of

23   $468,473.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim. P.

24   32.2(b)(1) and (2), Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

25   Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2).

26   ...
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 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2   States recover from JIMMY WILSON a criminal forfeiture money judgment in the amount of
 3   $468,473.00 in United States Currency.
 4                       2nd day of __________________,
             DATED this ______          March           2011.
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                                              UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE
 2           I, Heidi Skillin, certify that the following individuals were served with copies of the Order
 3   of Forfeiture on March 1, 2011, by the below identified method of service:
 4           First Class Mail
 5           Thomas A. Ericsson
             Ellsworth, Moody, & Bennion, Chtd
 6           7881 W. Charleston Boulevard, Suite 210
             Las Vegas, NV 89117
 7           tom@silverstatelaw.com
             Counsel for Jimmy Wilson.
 8

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11                                                        /s/HeidiSkillin
                                                          HEIDI SKILLIN
12                                                        Forfeiture Support Associate Clerk
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